UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

  In re:
                                                                 Chapter 11
  GRUPO AEROMEXICO, S.A.B. de C.V., et al.,
                                                           Case No. 20-11563 (JPM)
                               Debtors.
                                                                (Jointly Administered)


  INVICTUS GLOBAL MANAGEMENT LLC,
                                                           Case No. 22-01122 (JPM)
                               Plaintiff,

                 - against -

  MONOMOY CAPITAL PARTNERS LLC,
  and SINDICATO NACIONAL DE
  TRABAJADORES AL SERVICIO DE LAS
  LÍNEAS AÉREAS, TRANSPORTES,
  SERVICIOS, SIMILARES, Y CONEXOS,

                                  Defendants.


                 [PROPOSED] ORDER DISMISSING THE COMPLAINT

       Upon Defendant Monomoy Capital Partners LLC’s Motion to Dismiss the Complaint

(the “Motion to Dismiss”) in the above-captioned adversary proceeding, pursuant to Rule

12(b)(6) of the Federal Rules of Civil Procedure, made applicable in adversary proceedings by

Federal Rule of Bankruptcy Procedure 7012(b) (the “Bankruptcy Rules”); and the Court having

considered the Motion to Dismiss; and notice of the Motion to Dismiss having been given in

accordance with the Bankruptcy Rules and the Local Bankruptcy Rules for the Southern District

of New York; and it appearing that no other or further notice need be provided; and after due

deliberation and sufficient cause appearing therefor:
IT IS HEREBY FOUND AND ORDERED THAT:

   1. The Complaint fails to state a claim upon which relief may be granted.

   2. The Motion to Dismiss is GRANTED as set forth herein.

   3. The above-captioned adversary complaint is dismissed in its entirety as to Defendant

      Monomoy Capital Partners LLC.



Dated: _________, 2022
       New York, New York

                                                  ____________________________________
                                                  HONORABLE JOHN P. MASTANDO III
                                                  UNITED STATES BANKRUPTCY JUDGE
